    Case: 4:25-cv-00884-SPM                   Doc. #: 1-2   Filed: 06/18/25         Page: 1 of 1 PageID #: 75


                                              UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF MISSOURI
MARTHA PROFFITT, individually                               )
and on behalf of all others
similarly situated,           ,                             )
                                                            )
                             Plaintiff,                     )
                                                            )
            v.                                              )   Case No. 25-884
AMERICAN MULTISPECIALTY                                     )
GROUP, INC. d/b/a ESSE                    ,                 )
HEALTH,                                                     )
                             Defendant,                     )
                                                            )

                                                 ORIGINAL FILING FORM

    THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
    WHEN INITIATING A NEW CASE.


            THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

    PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

    AND ASSIGNED TO THE HONORABLE JUDGE                                                     .


            THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

    PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS                                              AND

    THAT CASE WAS ASSIGNED TO THE HONORABLE                                                 . THIS CASE MAY,

    THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.


            NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

    COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

    MAY BE OPENED AS AN ORIGINAL PROCEEDING.



    The undersigned affirms that the information provided above is true and correct.



    Date: 06/18/2025                                    /s/David M. Mangian
                                                                Signature of Filing Party
